1    Dina L. Anderson
     Chapter 7 Trustee
2
     21001 N. Tatum Blvd #1630-608
3    Phoenix, AZ 85050
     Email: General@DLATrustee.com
4    Telephone: (480) 304-8312

5

6                           IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF ARIZONA
7
      In Re:                                          )   Case No. 2:21-bk-02609-EPB
8                                                     )   Chapter 7
      ASHLEY M JEFFERSON                              )
9     SHAWN G PARKER                                  )   TRUSTEE’S OBJECTION TO PROOF
                                                      )   OF CLAIM AND NOTICE THEREON
10                            Debtors.                )   Claim No.: 4
                                                      )   Claimant: US Collections West
11
             Dina L. Anderson, the duly appointed Chapter 7 trustee herein (“Trustee”), hereby
12
     objects to the following claim:
13             Claim No. 4 Filed on 05/10/2022 for $2,274.93 by or on behalf of: US Collections West
               Address: Attn: Bankruptcy, Po Box 39695, Phoenix, AZ 85069
14
     upon the following grounds:
15           The claim does not include any supporting documents to substantiate the claim pursuant
     to Fed. R. Bankr. P. 3001(c).
16
               Wherefore, the Trustee requests and recommends that said claim be treated as follows:
17                                               Disallowed
18           NOTICE IS HEREBY GIVEN that the above claim will be treated as recommended by
     the Trustee unless on or before twenty-one (21) days from service of this objection a response is
19   filed with the Clerk of the Court at 230 N. First Avenue, Suite 101, Phoenix, AZ 85003-1706
     and served on Trustee at 21001 N. Tatum Blvd, #1630-608, Phoenix, Arizona, 85050. If a
20   response to the objection is timely filed and served, the Trustee will request a hearing from the
     Court. If a response is not timely filed and served, the objection may be sustained by the Court
21
     without further notice or hearing.
22           A true and correct copy of this objection has been served on the date as appears below to
     the claimant at the address listed above.
23
               Dated: August 18, 2022              /s/ Dina L. Anderson
24                                                 Dina L. Anderson
                                                   Chapter 7 Trustee
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